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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    (Palm Beach Division)

                              Case No. 9:19-CV-80633-ROSENBERG


   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

   v.

   NATURAL DIAMONDS INVESTMENT CO.,
   et al.,

          Defendants,

   H.S. MANAGEMENT GROUP LLC, et al.,

         Relief Defendants.
   ______________________________________________/

               RECEIVER’S UNOPPOSED THIRD INTERIM APPLICATION
             FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND
               REIMBURSEMENT OF EXPENSES TO THE RECEIVER AND
            HIS PROFESSIONALS; INCORPORATED MEMORANDUM OF LAW

          Pursuant to paragraph 52 of Section XIII of the Order Granting Plaintiff Securities and

   Exchange Commission’s Motion for Appointment of Receiver [DE 20] (the “Appointment

   Order”), Jeffrey C. Schneider, not individually, but solely in his capacity as the Court-appointed

   receiver (the “Receiver”),1 submits his unopposed Third Interim Application for allowance and

   payment of compensation and reimbursement of expenses for the quarterly period October 1, 2019

   through December 31, 2019.




   1
     This Court appointed Mr. Schneider as receiver for Argyle Coin, LLC (“Argyle”). On March
   28, 2019, approximately two months before the Receiver’s appointment, the Honorable Donald
   Middlebrooks appointed Mr. Schneider as Corporate Monitor for Defendants Natural Diamonds
   Investment Co. (“NDIC”) and Eagle Financial Diamond Group, Inc. (“EFDG”) in Rounds v.
   Natural Diamonds Investment Co., et al., Case No. 18-cv-81151 (the “Corporate Monitor
   Action”). This Court then expanded the Receivership to include NDIC and EFDG [DE 94, 104]
   and the Receiver filed a motion to close the Corporate Monitor Action.
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            The Receiver has conferred with the Securities and Exchange Commission (the “SEC”),

   the Defendants, and the Relief Defendants regarding this Fee Application. The SEC states that it

   has no objection to this Fee Application. Counsel for the Seigels and Relief Defendant H.S.

   Management Group LLC (“HS Management”) states that they have no objection. Counsel for

   Relief Defendant Gold 7 of Miami, LLC (“G7”) states that it has no objection. Defendant Jose

   Aman states that he has no objection.2

                                   PROCEDURAL BACKGROUND

            On May 13, 2019, the SEC filed an emergency action in this Court to enjoin NDIC, EFDG

   (a/k/a Diamante Atelier), and Argyle (collectively, the “Corporate Defendants”), and their owners,

   Jose Aman, Harold Seigel and Jonathan Seigel. In the Complaint [DE 1], the SEC asserted various

   claims against the Corporate Defendants, Aman, and the Seigels. Essentially, the SEC alleged that

   the Corporate Defendants were a three-tiered Ponzi scheme that promised hundreds of investors

   large investment returns that ranged from 24% to 100% every year to two years for signing

   investment contracts supposedly backed by diamonds worth tens of millions of dollars. As a result,

   the Corporate Defendants raised approximately $30 million from approximately 300 investors in

   Canada and the United States from late 2013 through 2018.

            The SEC also filed a Motion for Temporary Restraining Order, Asset Freeze, and Other

   Relief [DE 4] and a Motion for Appointment of Receiver [DE 7]. The SEC advised this Court that

   Mr. Schneider had been appointed as Corporate Monitor for NDIC and EFDG in the Corporate

   Monitor Action, which was then also pending in the Southern District of Florida.




   2
       The remaining Relief Defendants have already settled with the SEC and have not responded.
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          As a result of the SEC’s efforts, this Court appointed the Receiver for Argyle. This means

   that this Court ordered the Receiver to, among many other things, assume full control of Argyle

   and to secure, conserve, hold, manage, and prevent the loss of its assets.

          There are currently asset freezes over Defendants Aman, Harold Seigel and Seigel entity

   HS Management (a relief defendant) [DE 40]. In addition, there are currently asset freezes over

   the other relief defendants, including approximately $1.6 million frozen in accounts in the names

   of Relief Defendants Winners Church International Inc. of West Palm Beach Florida (“Winners

   Church”) and Fredrick and Whitney Shipman (collectively, the “Shipmans”) [DE 59], and dozens

   of diamonds and jewelry pieces held by Relief Defendant G7 [DE 55]. As discussed below, the

   SEC recently settled its claims against Winners Church and the Shipmans, so the approximately

   $1.6 that was frozen has been deposited into the Court’s registry and will, upon Court-approval,

   be transferred to the Receiver to distribute, again upon Court-approval, to the victims.

          Since his appointment, the Receiver and his professionals have been working tirelessly, yet

   efficiently, to effectuate his obligations under the Appointment Order. As further discussed below,

   this work has primarily involved identifying accounts and assets of Argyle, as well as preserving

   all relevant books and records regarding Argyle (both hard copy and electronically-stored

   information (“ESI”)).

          The Receiver has been appointed to serve as receiver in numerous cases involving the SEC,

   the Federal Trade Commission (“FTC”), the Commodity Futures Trading Commission, and

   various Attorneys General during his nearly 30-year career. The Receiver has also served as

   counsel, or special counsel, to various receivers in SEC and FTC cases. The Receiver has helped

   to recover approximately $300 million for defrauded investors during the course of his career. He

   considers it an honor and a privilege to serve in this capacity, and intends to carry out his duties at

   the highest level possible for the benefit of the defrauded investors.
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            Throughout this process, the Receiver and his professionals have worked cooperatively

   with the SEC and other agencies, with each side mindful of their respective responsibilities and

   duties. The coordination of the Receiver’s and the SEC’s efforts has resulted in several immediate

   accomplishments (further discussed below) for the benefit of the Receivership Estate and, most

   importantly, victimized investors.

                                           INTRODUCTION

            The Receiver and his professionals have been involved in numerous state and federal

   receiverships, either as receiver or receivership counsel. Like most receiverships, this Third Fee

   Application is still front-loaded, as much of the Receiver’s and his professionals’ services occurred

   during the early phases of the Receivership (which is the time-period covered by this Fee

   Application). In other words, the leg-work that the Receiver and his professionals have performed

   in this period, and will continue to perform for the next several months, will be a large portion of

   the anticipated asset recovery work in the Receivership.

            As more fully discussed in the Receiver’s three Reports [DE 111-1, DE 144-1 and DE 185-

   1, respectively], the Receiver has accomplished much for the benefit of the Receivership Estate

   and investors since his appointment. Such accomplishments include the following:

      i.       Testifying at the May 23, 2019 show cause hearing regarding Winners
               Church and the Shipmans, and providing a declaration to the SEC
               regarding the dozens of diamonds and jewelry pieces held by G7, which
               ultimately resulted in asset freezes over those Relief Defendants’ assets
               in the amount of approximately $2 million [DE 5-12, DE 55, DE 59].
               During the subject quarter, the SEC settled its claims against Winners
               Church and the Shipmans transferred to the Court’s registry
               approximately $1.6 million which will, upon Court-approval, be
               transferred to the Receiver to distribute, again upon Court-approval, to
               the victims;

      ii.      During the subject quarter, moving, which the Court granted, for
               authority to sell Aman’s fiancée’s diamond ring and the 104 pouches of
               uncut, unpolished colored diamonds that the Receiver obtained from
               Aman [DE 168, 179]. The Receiver is currently in the process of

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              marketing, selling, and monetizing those items for the victims’ benefit.
              All sales proceeds will be placed in the Argyle receivership account for
              their benefit. The Receiver’s appraiser has appraised the items, but the
              Receiver cannot disclose the appraised values because doing such could
              impact any offers or bids he ultimately receives;

       iii.   Demanding, negotiating, and ultimately obtaining possession of 38
              pieces of jewelry and diamonds from non-party Carmelo De Stefano
              pursuant to an Agreed Order [DE 73]. The Receiver met with Mr. De
              Stefano and his counsel on September 27, 2019 and October 23, 2019,
              to discuss relevant matters and to ultimately attempt to obtain his
              consent to an agreed turnover of all of the subject jewelry/diamonds for
              the benefit of the Receivership Estate. During the appliable period, Mr.
              De Stefano and the Receiver came to an agreement in principle
              regarding a settlement of the jewelry/diamonds. His counsel and the
              Receiver are currently finalizing the settlement papers, and the Receiver
              anticipates filing a motion to approve the settlement agreement shortly.
              The bottom line is that Mr. De Stefano will be relinquishing any interest
              he may claim to the diamonds/jewelry, after which the Receiver intends
              to file a motion to sell the subject diamonds/jewelry for the benefit of
              the victims. The Receiver’s appraiser has also appraised the
              diamonds/jewelry. The Receiver’s appraiser’s appraised value for the
              items is more than $500,000;

       iv.    Inspecting for purposes of appraising the diamonds/jewelry held by G7
              for purposes of the upcoming mediation on March 3, 2020, and if there
              is an impasse, for purposes of the G7 trial on the critical “value” issue;

       v.     Expanding the Receivership to include NDIC and EFDG and
              consolidating those entities from the Corporate Monitor Action to
              further streamline this proceeding for the benefit of all the victims [DE
              94, 104];

       vi.    Seizing four jumping horses, and then relocating them, maintaining
              them, and eventually selling them, for a total of $175,500.00, the funds
              of which the Receiver has received and deposited in the EFDG/NDIC
              receivership account (the account that funded the horses’ care,
              maintenance, and appraisals for marketing/selling)3;

       vii.   Communicating by email and telephone with investors regarding the
              status of this proceeding and creating a receivership website
              naturaldiamondsreceivership.com for more efficient updates to and

   3
     The motions to approve the horse purchase agreements were filed, and granted [DE 105, 106,
   135, 138, and 141] in this case, given the expansion of the Receivership to include NDIC and
   EFDG.

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                 communications with investors and the public. The receivership
                 website also contains important court filings, letters from the Receiver
                 to the investors, a registration form, a “frequently asked questions”
                 section to educate the investors about the receivership process, and an
                 email address (naturaldiamondsreceivership@lklsg.com) and phone
                 number (786.347.2563), so the investors may contact the Receiver
                 directly with questions that were not answered by navigating the
                 website;

       viii.     Establishing a receivership bank account to deposit and safeguard
                 receivership funds;

       ix.       Providing notice of the Appointment Order to certain former employees,
                 and conducting interviews of those employees;

       x.        Providing notice of the Appointment Order to certain vendors including
                 Ideofuzion, the developer of Argyle’s cryptocurrency technology,
                 including the blockchain and code;

       xi.       Securing the premises where Argyle (and also EFDG and NDIC)
                 operated, and the books and records within;

       xii.      Shutting down Argyle’s business website;

       xiii.     Ceasing all of Argyle’s business operations; and

       xiv.      Investigating potential targets for purposes of ancillary receivership
                 litigation for the benefit of the Receivership Estate and investors.4

              The Receiver respectfully requests that this Court appreciate the difficulty, challenge, and

   magnitude of the tasks that he and his professionals have been confronted with and the time-

   pressure under which they were obligated to perform those tasks, neither of which can be gleaned

   from an after-the-fact review of the attached time records. This case was, and continues to be,

   challenging because of the complexity of the business operations involved, the volume of

   documents and data, and the voluminous financial transactions from the relevant business and




   4
    The Receiver anticipates serving additional demand letters and filing lawsuits in the next few
   months.

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   personal accounts. Again, the Receiver’s three Reports detail many of the Receiver’s and his

   professionals’ immediate accomplishments.

            In addition, as stated above, many receiverships are, generally speaking, front-loaded for,

   at a minimum, the first several months of the Receivership. In other words, a great deal of work

   is performed during the early periods during which the Receiver is cancelling leases, interviewing

   witnesses, obtaining assets, testifying in court, and otherwise “getting up to speed” to stabilize the

   assets of the receivership. The Receiver also respectfully requests that this Court appreciate the

   large amount of risk undertaken by the Receiver and his team because there was no guaranty upon

   the Receiver’s appointment that there would be any assets ultimately secured to compensate the

   Receiver or his team. In fact, there are still currently no funds in Argyle’s bank accounts and there

   are currently limited known Argyle assets with currently unknown values (i.e., Argyle’s

   cryptocurrency technology, including the blockchain and code).5 Indeed, for that reason, and like

   the First and Second Interim Fee Applications that the Court has already granted [DE 133, 137,

   160, and 180], the Receiver has no current expectation that the fees sought in this Fee Application

   will be paid anytime soon; the Receiver nevertheless files this Fee Application because it is

   required by the Appointment Order, which payment – like with the First and Second Interim Fee

   Applications – will be made when the Receivership has sufficient assets with which to do so.

                                   DESCRIPTION OF SERVICES

       I.      The Receiver

            The Receiver is a trial attorney who has served as a District Court receiver and receiver’s

   counsel in numerous SEC, FTC, and Commodity Futures Trading Commission cases during his

   nearly 30-year career. The Receiver is Chair of his law firm’s Receivership Practice Group and


   5
     The Receiver will be investigating and evaluating whether Argyle’s cryptocurrency technology
   has any value, and if so, how much and how best to sell it.
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   has served as the firm’s Managing Partner since the firm’s inception. The Receiver has served as

   Receiver, or as counsel to receivers, in numerous state and federal receiverships and is proud to

   say that, over the course of his career, he has helped to recover over $300 million for defrauded

   victims. Because the Receiver views receivership cases as serving the public’s interest, the

   Receiver agreed to substantially reduce his standard hourly rate of $695.00 per hour, which is what

   the Receiver charges his typical commercial clients, to $395.00 per hour for purposes of this case.

   The Receiver’s $395.00 hourly rate is currently one of the lower receiver rates in the Southern

   District of Florida in agency receivership cases. The Receiver also capped his rate during the life

   of this case.

             The Receiver also sought commensurate reductions from all of his professionals. The

   Receiver also obtained their agreement to cap their rates during the life of this case.

       II.      Information about this Fee Application

             This Application has been prepared in accordance with the SEC’s Billing Instructions for

   Receivers in Civil Actions Commenced by the SEC. Pursuant to the Billing Instructions, Exhibit

   A attached hereto is a Certification by the Receiver confirming, under oath, that this Fee

   Application complies with the SEC’s Billing Instructions.

             Exhibit B attached hereto is the updated quarterly Standardized Fund Accounting Report,

   also known as the SFAR, which is the SEC’s accounting form required in civil receivership actions

   commenced by the SEC.

             Exhibit C attached hereto memorializes the professional services rendered by the

   Receiver, and the necessary and reasonable non-reimbursed out-of-pocket costs attendant to those

   services. Exhibit C, which was prepared based on the Receiver’s contemporaneous daily time

   records, includes a daily description of the services rendered by the Receiver, along with the hours

   expended at his reduced hourly rate. Exhibit C reflects that the Receiver billed a total of 29.50

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   hours, at a reduced hourly rate of $395.00 per hour, for a total of $11,652.50. The Receiver’s

   partner, who serves as co-counsel, billed a total of 25.40 hours, at a reduced hourly rate of $350.00

   per hour, for a total of $8,890.00. Finally, the Receiver’s paralegal billed a total of 4.30 hours, at

   a reduced hourly rate of $150.00 per hour, for a total of $645.00. Exhibit C also reflects that the

   Receiver’s firm incurred costs of $506.12 during the subject period, bringing the current total due

   the Receiver and his firm to $21,693.62.

             Exhibits D and E attached hereto memorialize the professional services rendered by the

   Receiver’s professionals, and the necessary and reasonable non-reimbursed out-of-pocket costs

   attendant to their services, which are described more fully below.

             Exhibit F is a proposed Order granting this Fee Application.

      III.      The Receiver’s Counsel

             Pursuant to paragraph 50 of Section XIII of the Appointment Order, the Receiver was

   required to obtain permission from this Court to retain his legal counsel. On July 10, 2019, the

   Receiver filed his Motion to Employ Legal Counsel (the law firms of Sallah Astarita & Cox, LLC

   (the “Sallah Firm”) and Silver Law Group (the “Silver Firm”)). The Motion to Employ Legal

   Counsel was resolved by agreed order [DE 126], and confirmed the appointment of counsel nunc

   pro tunc, so this Fee Application also includes counsels’ time for their work already done to benefit

   the Receivership Estate.

             Engaging the Sallah and Silver Firms eliminated any learning curve associated with

   engaging new counsel and saved the victims of this Receivership Estate tens of thousands of

   dollars in legal fees. The Sallah and Silver Firms have dozens of years of receivership experience

   and have served as receivers or lead counsel to receivers in countless receiverships involving Ponzi

   schemes, investment fraud schemes, deceptive telemarketing schemes, and the like in the Southern

   District of Florida and elsewhere around the Country. Like the Receiver, the attorneys at the Sallah

   and Silver Firms have all agreed to substantially reduce their standard hourly rates (which range
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   from $400.00 to $650.00 per hour) to $395.00 per hour in order to further increase potential

   recoveries for the benefit of the Receivership Estate. They have also agreed to cap their rates

   during the life of this case.

           The Receiver’s firm (Levine Kellogg Lehman Schneider + Grossman LLP), which will be

   handling all issues relating to the Seigels and Relief Defendant HS Management, have agreed to

   the same reductions and the same cap during the life of this case. The Receiver will, of course,

   ensure that there is no duplication of efforts by his attorneys.

           Indeed, the Sallah Firm has been doing the bulk of the work in the Corporate Monitor

   Action and will continue to do so in this case (except as it relates to the Seigels and Relief

   Defendant HS Management). The Silver Firm will be used primarily for specialty litigation work

   involving securities claims.

           As stated above, the professional services rendered by the Receiver’s firm, and the

   necessary and reasonable non-reimbursed out-of-pocket costs attendant to those services, are

   described in more detail on Exhibit C. Exhibit C was prepared based on the Receiver’s firm’s

   contemporaneous daily time records, and includes a daily description of the services rendered, the

   hours expended, and the attorney’s reduced hourly rate. The professional services rendered by

   the Sallah Firm, and the necessary and reasonable non-reimbursed out-of-pocket costs attendant

   to those services, are described in more detail on Exhibit D.6 Exhibit D, which was prepared

   based on the Sallah Firm’s contemporaneous daily time records, includes a daily description of




   6
      Mr. Rengstl is Of Counsel at the Sallah Firm and has handled most of the legal work on the
   Receiver’s behalf. Robert Carey was engaged by the Sallah Firm as a contract attorney. Mr. Carey
   also reduced his hourly rate to $275.00, from $395.00, for the benefit of the victims. Mr. Carey’s
   contractor invoice is part of Exhibit D, so his hours and fees are part of the total amount for the
   Sallah Firm.

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   the services rendered, the hours expended, and the attorney’s reduced hourly rate.7 Exhibit D

   reflects that the Sallah Firm has charged a total of 108.90 hours for a total of $42,079.50 and

   incurred costs of $231.35 during the subject period, bringing the current total due the Sallah Firm

   to $42,310.85.8

               Exhibit E reflects that the Silver Firm – which has very minimal time in the case – has

   charged a total of 2.10 hours for a total of $829.50.

         IV.      Summary Chart

               For the Court’s convenience, the following is a summary of the total fees and costs of the

   Receiver and his professionals during the subject period covered by this Fee Application:

       Name                                Hours            Fees           Expenses         Total
       Receiver and Levine Kellogg         59.20            $21,187.50     $506.12          $21,693.62
       Lehman Schneider + Grossman
       LLP
       Sallah Astarita Cox LLC             108.90           $42,079.50     $231.35          $42,310.85

       Silver Law Group                    2.10             $829.50        0                $829.50

       Total                               170.20           $64,096.50     $737.47          $64,833.97




   I.          Summary of Services Rendered by the Receiver and his Professionals

               The professional services rendered by the Receiver and his professionals, and the necessary

   and reasonable non-reimbursed out-of-pocket costs attendant to those services, are described in

   more detail on Exhibits C through E attached hereto. The Receiver and his professionals have

   gone to great lengths to eliminate all block-billing from their respective time entries and to provide


   7
    Counsels’ billing entries in Exhibits C, D, and E consist of “Case Administration” and “Asset
   Analysis and Recovery” entries pursuant to the SEC’s Billing Instructions.
   8
     Mr. Sallah spent several hours during the applicable period, but did not bill them as a courtesy
   to the Receivership Estate and its victims.

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   as detailed time entries as possible without revealing information protected by the attorney-client

   privilege, accountant-client privilege, or work product doctrine.

           The attached records set forth in narrative form the detailed nature and extent of the

   professional services rendered by the Receiver and his professionals. These recitals, however,

   constitute only a summary of the time spent. It must be recognized that a mere reading of the time

   summaries attached hereto cannot completely reflect the full range of services rendered by the

   Receiver and his professionals, the complexity of the issues, and the pressures of time and

   performance which have been placed upon the Receiver and his professionals in connection with

   this case.

           The schedules of disbursements for expenses, which are also part of Exhibits C through E,

   are those actual and necessary expense items, such as photocopy charges, long distance telephone

   charges, telecopy charges, delivery charges, and various expenses incurred in connection with this

   matter. All of these expense items would typically be billed by the Receiver and his professionals

   to their general commercial clients. In addition, all travel time was reduced by 50% in accordance

   with the SEC’s Billing Instructions.

           As set forth above, the Receiver and his professionals have not been paid any compensation

   in connection with the services and expenses set forth herein, and do not expect to be paid for those

   services until the Receivership has sufficient resources with which to make those payments.

   II.     Applicable Legal Standard and Analysis

           In determining attorneys’ fees, a court must (1) determine the nature and extent of the

   services rendered; (2) determine the value of those services; and (3) consider the factors set forth

   in Johnson v. Georgia Highway Express, Inc., 488 F. 2d. 714 (5th Cir. 1974). See Grant v. George

   Schumann Tire & Battery Co., 908 F.2d 874, 877-78 (11th Cir. 1990) (bankruptcy fee award case

   addressing the issue of attorney’s fees generally before considering specific requirements in the
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   bankruptcy context). The twelve factors set forth in Johnson, a case involving an award of

   attorneys’ fees under Federal civil rights statutes, as incorporated by the Eleventh Circuit in Grant,

   a bankruptcy case, are: (1) the time and labor required; (2) the novelty and difficulty of the

   questions presented; (3) the skill required to perform the legal services properly; (4) the preclusion

   of other employment by the attorney due to acceptance of the case; (5) the customary fee for similar

   work in the community; (6) whether the fee is fixed or contingent; (7) time limitations imposed by

   the client or by the circumstances; (8) the amount involved and results obtained; (9) the experience,

   reputation, and ability of the attorney; (10) the undesirability of the case; (11) the nature and length

   of the professional relationship with the client; and (12) awards in similar cases.

           A.      The Time and Labor Required

           The foregoing summary description, together with the time records attached hereto, detail

   the time, nature, and extent of the professional services rendered by the Receiver and his

   professionals during the period covered by this Application. The Receiver and his professionals

   believe that the time spent is justified by the results that have been achieved thus far. The Receiver

   and his professionals believe they have played a significant role during the course of this

   proceeding and will continue to do so in the future.

           B.      The Novelty and Difficulty of the Questions Presented

           This case required a high level of skill to secure receivership assets and to carry out the

   Receiver’s many duties.

           C.      The Skill Requisite to Perform the Services Properly

           In order to perform the required services, substantial legal skill and experience in the areas

   of commercial law and litigation were required of the Receiver and his professionals. The Receiver

   is acutely aware of the financial considerations arising in receiverships such as this. Accordingly,

   as this Court may gather from the Exhibits attached hereto, the Receiver has staffed the
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   administration of this case efficiently under the direction and immediate supervision of the

   Receiver.

          D.      The Preclusion of Other Employment Due to This Case

          Although the Receiver and his professionals were not explicitly precluded as a result of

   this case from accepting other matters, matters in this case were treated by the Receiver and his

   professionals in an expeditious and professional manner. Also, this case required the Receiver and

   his professionals to devote a significant amount of time to this case, to the preclusion of expending

   time on other active matters.

          E.      The Customary Fee

          The hourly rates of the Receiver and his professionals set forth on the attached exhibits

   reflect a rate that is generally lower than the hourly rates billed by the Receiver and his

   professionals to clients in other cases, as well as rates that are consistent with or even lower than

   other receivers and their retained law firms in similar matters.          The Receiver’s and his

   professionals’ reduced rates have been confirmed and approved in many other matters in which

   the Receiver and his professionals have been involved.

          F.      Whether the Fee Is Fixed or Contingent

          The compensation of the Receiver and his professionals is subject to the approval of this

   Court, and the Receiver and his professionals have not received any compensation for their

   services rendered to date. The above factors should be taken into consideration by this Court, and

   the compensation should reflect the assumption of the risk of non-payment and delay in payment

   that may be borne in future applications herein.

          G.      The Time Limitations Imposed

          This case imposed time limitations on the Receiver and his professionals due to the

   necessity for rapid resolutions of issues.
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          H.      The Experience, Reputation, and Ability of the Professionals

          The Receiver and his professionals enjoy a fine reputation and have proven substantial

   ability in the fields of equity receiverships, litigation, and business reorganization.

          I.      The “Undesirability” of the Case

          This case is not the least bit undesirable, and the Receiver and his professionals are honored

   and privileged to serve in this case.

          J.      The Nature and Length of Professional Relationship

          The Receiver and his professionals have had no prior relationship with the parties in this

   case prior to the initial related proceeding of the Corporate Monitor Action.

          K.      Awards in Similar Cases

          The amounts requested by the Receiver and his professionals are not unreasonable in terms

   of awards in cases of similar magnitude and complexity. The compensation requested by the

   Receiver and his professionals comports with the mandate of applicable law, which directs that

   services be evaluated in light of comparable services performed in other cases in the community.

   As stated above, the hourly rates requested by the Receiver and his professionals are generally

   lower than the ordinary and usual hourly rates billed by the Receiver and his professionals to not

   only their ordinary clients, notwithstanding the risks associated with this case, but also other

   receivers and their retained firms who bill at higher hourly rates.

          L.      The Source of Payment for the Amounts Sought Hereunder

          The amounts for which payment is requested hereunder shall be paid from funds that are

   held in the Argyle receivership bank account. However, there are currently no funds in that

   account. The Receiver requests that this Court still grant this Fee Application, and if and when

   the Argyle receivership account is funded in the amount of at least the total amount sought in this

   Fee Application, then the requested payments shall be made from the funds in the Argyle
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   receivership account.

                                            CONCLUSION

          The Receiver respectfully requests that this Court enter the proposed Order, attached as

   Exhibit F, approving this Third Fee Application of payment and reimbursement of the requested

   fees and costs, and for such other relief that is just and proper. As stated above, the Receivership

   Estate does not currently have sufficient funds with which to pay the fees requested in this Fee

   Application. The Receiver, therefore, merely seeks an order of entitlement, and the Receiver will

   pay the amounts sought when the Receivership Estate has sufficient funds within which to do so.

                                 LOCAL RULE CERTIFICATION

          Pursuant to Local Rule 7.1(a)(3), the Receiver hereby certifies that he has conferred with

   counsel for the SEC, the Defendants, and the Relief Defendants regarding this Fee Application.

   The SEC states that it has no objection. Counsel for the Seigels and Relief Defendant HS

   Management states that they have no objection. Counsel for Relief Defendant G7 states that it has

   no objection. Defendant Jose Aman states that he has no objection.

     Dated: March 6, 2020                               Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on March 6, 2020, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

   this day on all counsel of record or pro se parties identified on the attached Service List in the

   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or

   in some other authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing.

                                                       By: /s/ Patrick J. Rengstl
                                                          PATRICK J. RENGSTL, P.A.




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